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                                                               Exhibit 2




                                                                          00111882
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